      Case 3:15-cv-00675-JBA Document 2337 Filed 09/15/22 Page 1 of 23




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                        )
UNITED STATES SECURITIES AND                            )
EXCHANGE COMMISSION,                                    )   No. 3: 15-CV-675 (JBA)
                                                        )
                              Plaintiff,                )
                                                        )
       V.                                               )
                                                        )
IFTIKAR AHMED,                                          )
                              Defendant, and            )
                                                        )
IFTIKAR ALI AHMED SOLE PROP et al.,                     )
                                                        )   SEPTEMBER 13, 2022
                              Relief Defendants.        )
_____________ )

                   RELIEF DEFENDANTS' RESPONSE TO OAK'S
              NOTICE OF SUPPLEMENTAL AUTHORITY IN FURTHER
            OPPOSITION TO RELIEF DEFENDANT'S MOTION TO COMPEL


       The Relief Defendants file this Response to Oak's Notice of Supplemental Authority in

Further Opposition (Doc. 2334 or "Notice") to the Relief Defendants' Motion to Compel (Doc.

2276 or "Motion"). The Court should completely disregard Oak's Notice as it is completely

inelevant to the Relief Defendants' Motion. The Relief Defendants also join the Defendant's

Reply (Doc. 2331) to Oak's Opposition (Doc. 2318) and Defendant's Reply (Doc. 2332) to Oak's

Notice of Supplemental Authority in Further Opposition (Doc. 2329, or "Notice to Defendant's

Motion") to Defendant's Motion to Compel (Doc. 2298 or "Defendant's Motion") to the extent

that it does not conflict with the Relief Defendants' currently pending motions before the Court.

The Relief Defendants reserve all rights.

       Oak's Notice is completely irrelevant to the Relief Defendants' Motion.
     Case 3:15-cv-00675-JBA Document 2337 Filed 09/15/22 Page 2 of 23




       First, the Relief Defendants are not parties to the NMRE Action in the New York State

Court. They have nothing to do with that action; they were not at the August 31, 2022 hearing; and

they are not bound by any orders of that court. Oak's Notice is irrelevant. Furthermore, the Relief

Defendants are separate parties than the Defendant here and have their own interests that may not

be aligned with those of the Defendant. The Relief Defendants are independent of the Defendant.

       Second, this Comi has assessed a judgment in this case on the Defendant for the underlying

transaction at issue in the NMRE Action for which NMRE received a judgment. This Court cannot

render duplicative judgments on the same underlying transaction and must ensure that

disgorgement remains equitable. The fact that the Defendant has to give amounts back for the same

underlying transaction (i) in this case - for disgorgement, prejudgment interest, penalty and also

additional relief based on that disgorgement; (ii) plus an amount in the NMRE Action which Oak

claims as theirs now; (iii) plus the amount of shares that was already given back by Defendant in

the underlying transaction; (iv) plus the arbitration amount that Oak claims; (v) plus the allegedly

forfeited assets, clearly renders disgorgement punitive.

       Third, this Comi has frozen all the Relief Defendants' assets for the Defendant's judgment

here. The Relief Defendants have an interest in protecting their ownership rights in assets that

legally and rightfully belong to them. Oak's erroneous assertion that the "Relief Defendants ...

have no vested interest in opposing [Oak's request to domesticate the NMREjudgment and attach

the 505 N01ih Street home]" (Notice at 2-3) ignores the fact that Ms. Ahmed has equity in the

home and that whatever equity Mr. Ahmed had has been assigned to the minor children in the

dissolution of marriage proceeding between Mr. Ahmed and Ms. Ahmed. Furthermore, there are

agreements with the DOJ on the home and automatic stay orders in the Dissolution of Marriage

proceeding that Oak clearly violates with its unbelievably brazen request. Oak does not even



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     Case 3:15-cv-00675-JBA Document 2337 Filed 09/15/22 Page 3 of 23




respond as to what equity it seeks to attach in the home, when it has a judgment against Mr. Ahmed,

when Mr. Ahmed's equity has already been pledged.

       The Court should completely deny Oak's incredible request-which ignores these standing

orders and the DOJ agreements. In fact, even the SEC itself noted the pending DOJ matter, as the

SEC stated that "[T]he SEC notes that 505 North Street is the subject of a dispute between the

United States Attorney's Office for the District of Massachusetts and the Ahmeds, which is

currently on appeal to the U.S. Court of Appeals for the First Circuit. See U.S. v. Kanodia, 15-cr-

10131-NMG (D. Mass); U.S. v. Ahmed, Nos. 21-1193 and 21-1194 (1st Cir.). The SEC takes no

position on whether it is appropriate for Oak to file a writ of attachment on 505 North Street in

light of that dispute." (Doc. 2270, n. 1)

       Clearly, it is beyond inappropriate for Oak to attach the 505 North Street home and the

Court should not allow Oak to do it. Besides the fact of these standing court orders and DOJ

agreements, allowing Oak the relief it seeks would also changes the status of Oak as a creditor,

which is inequitable (see Doc. 2307-1, attached as Exhibit 1).

       Fourth, the three minor children reside in the home, and that warrants special consideration

to ensure that they are protected. See Osei-Afriyie v. Med. College of Pennsylvania, 937 F.2d 876,

883 (3d Cir. 1991) (stating "[T]he infant [and minor child] is always the ward of every court

wherein his rights or property are brought into jeopardy, and is entitled to the most jealous care

that no injustice be done to him." (citing DuPont v. Southern Nat'! Bank of Houston, Tex., 771

F.2d 874,882 (5th Cir. 1985) (quoting Richardson v. Tyson, 110 Wis. 572,578, 86 N.W. 250,251

(1901)), cert. denied, 475 U.S. 1085, 106 S.Ct. 1467, 89 L.Ed.2d 723 (1986)); see Sonny

Southerland v. City of New York, CV-99-3329 (CPS), at *6 (E.D.N.Y. Aug. 2, 2006) (" ... the




                                                3
      Case 3:15-cv-00675-JBA Document 2337 Filed 09/15/22 Page 4 of 23




Court's role is to '"exercise the most jealous care that no injustice be done' to the infant [or minor

child].'"') (citation omitted).

       Fifth, the Relief Defendants understand that the public has a presumptive right to view

judicial documents. Oak has brought the settlement agreement into the purview of the public by

seeking relief related to that document. The Relief Defendants - and the public - have a right to

view that document. The Court cannot allow Oak to domesticate the judgment without itself seeing

the settlement agreement, especially as the Court lifted the stay of litigation for NMRE to proceed

against the Defendant and obtain a judgment, not Oak. Because it is the settlement agreement upon

which Oak seeks relief, the Relief Defendants - and the public - are entitled to view that settlement

agreement in totality.



       WHEREFORE,        for the reasons in their Motion to Compel (Doc. 2276), and the Defendant's

Motion to Compel (Doc. 2298) which the Relief Defendants have joined (Doc. 2316), and all

responses by the Relief Defendants and Defendant related to such briefing, the Relief Defendants

respectfully request the Court grant their Motion and compel Oak to provide the settlement

agreement in its entirety to the Relief Defendants, who have a legal and constitutional right to

protect their interests in their assets, and especially the home where Ms. Ahmed and the three

minor children reside.




                                                  4
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                                               Respectfully Submitted,


                                               by: Isl Shalini Ahmed
                                               Shalini A. Ahmed
                                               505 North Street
                                               Greenwich, CT 06830
                                               Tel: 646-309-8110
                                               Email: shalini.ahmed@me.com
                                               Pro Se




                                 CERTIFICATE OF SERVICE

       I hereby certify that upon docketing a copy of the foregoing will be sent by e-mail to all

parties by operation of the Court's electronic filing system or by mail to anyone unable to accept

electronic filings as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court's CMIECF system.



                                                  Isl Shalini Ahmed
                                                  Shalini Ahmed (pro se)




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                    EXHIBIT 1
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                                      )
UNITED STATES SECURITIES AND                          )
EXCHANGE COMMISSION,                                  )    No. 3:15-CV-675 (JBA)
                                                      )
                             Plaintiff,               )
                                                      )
       V.                                             )
                                                      )
IFTIKAR AHMED,                                        )
                             Defendant, and           )
                                                      )
IFTIKAR ALI AHMED SOLE PROP et al.,                   )
                                                      )    AUGUST 15, 2022
      Relief Defendants.                              )
____________                                          )


[PROPOSED] SUR-REPLY OF RELIEF DEFENDANTS TO OAK'S MOTION TO LIFT
         THE LITIGATION STAY AND PRELIMINARY INJUNCTION


       Relief Defendants submit this sur-reply to address four misstatements in Oak's

reply brief on their motion to lift the litigation stay and preliminary injunction. (ECF 2303,

or the "Reply").

       First, Oak states that Relief Defendants "fail to cite to any authority to suggest that

it would be improper to place an additional lien on 505 North" (Reply, n.4). Relief

Defendants have properly cited to authority, specifically with respect to agreements with

the DOJ for the Defendant's Appearance Bond and Ms. Ahmed's Surety Agreement, as

well as Family Court authority, all which prohibit encumbrances on the 505 North home

("home").

       Attached are relevant portions of agreements that Mr. Ahmed and Ms. Ahmed

have with the Department of Justice ("DOJ") in Massachusetts that specifically specify

that no encumbrances may be permitted on the 505 North Street home that Oak seeks
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to attach. [Exhibit 2 for Appearance bond stating that "[Defendant and Surety] will not. ..

allow further claims to be made against [the home]"; Exhibit 3 for relevant portion stating

that "[Defendant and Surety] ... will defend ... the Property against all claims and

demands ... [and allow] no further encumbrances of any kind against the property."]

       Thus, Oak's request to this Court is in direct violation of the DOJ agreements.

Furthermore, Oak's deliberate misstatement that "505 North is covered by the Preliminary

Injunction Order" (Reply, n. 4) was rejected by this Court, as "from the inception of this

action ... the Greenwich property was never included in the asset freeze ... precisely

because it was already used as the security for Defendant's bond in the MA Case." (ECF

1821 at 2).

       Furthermore, Oak has moved the Connecticut Family Court to be added as a "party

defendant" in Ms. Ahmed's dissolution of marriage proceeding. The Automatic Court

orders in the dissolution of marriage proceedings in the State of Connecticut prohibit the

encumbrance of any property and seek to maintain the status quo, which would be directly

disrupted by allowance of Oak's request. See Exhibit 4 "(3) Neither party shall

encumber ... any property except in the usual course of business or for customary and

usual household expenses or for reasonable attorney's fees in connection with this action"

and Exhibit 5 "(3) Neither petitioner shall encumber ... any property except in the usual

course of business or for customary and usual household expenses or for reasonable

attorney's fees in connection with this action."

       Oak's request is in direct violation of the Connecticut Family Court's automatic

standing orders, where Oak seeks to be made a party.




                                              2
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        Thus, there is clear authority that prohibits the filing of any encumbrance on the

home.

        Second, in contrast to Oak's misstatement that "[Oak] is neither asking the Court

to function as a bankruptcy court and decide creditor status nor seeking to secure priority

over any other alleged creditor," the act of filing a lien is an affirmative action that

transforms Oak from an unsecured general creditor to a secured creditor and places it

ahead of other unsecured alleged creditors. See In re Overbaugh, 559 F.3d 125, 127 n.1

(2d Cir. 2009) ("A "secured claim" is "[a] claim held by a creditor who has a lien or a right

of setoff against the debtor's property." Black's Law Dictionary 265 (8th ed. 2004 ).

Conversely, an "unsecured claim" is "[a] claim by a creditor who does not have a lien or

a right of setoff against the debtor's property." Id.") Allowing Oak to file a lien would place

Oak ahead of other alleged creditors and in essence, create a "race" wherein other

alleged creditors would also seek to place liens on the home, as well as would elevate

Oak as a secured creditor, to the detriment of any other alleged creditor of the Defendant.

        This Court sits in equity and Oak has not identified any particularized harm that it

would suffer under the stay any greater than that which could be faced by any other

alleged creditor currently precluded from recovering. Oak's request also stands in direct

contrast to earlier orders of this Court denying attachment relief to other alleged creditors,

and Oak's request places the Court in a position of determining creditor status, a function

best left to a bankruptcy court with the appropriate guidelines and statutes in place. Oak's

request "go[es] to the heart of the "bankruptcy process, ... involving the determination of

who is a valid creditor and which creditors are senior in the creditor hierarchy."

Germain, 988 F.2d at 1329-30." In re Mindeco Corp., 212 B.R. 447,450 (E.D.N.Y. 1997).



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      Third, Oak states "that Ms. Ahmed and the minor children purportedly continue to

reside at 505 North" (Reply at 6) (emphasis added). The Relief Defendants do not

purportedly reside in the home, but do reside in the home.

      Fourth, the Dissolution of Marriage Agreement (or "Agreement") is not a "sham" or

"suspicious" or "legally questionable" agreement, as alleged by Oak multiple times in the

Reply. Ms. Ahmed has properly filed for Dissolution of Marriage and the Agreement is a

carefully considered document that is the result of multiple and lengthy discussions

between Mr. Ahmed and Ms. Ahmed.




                                            Respectfully Submitted,


                                            By: _ _ _ __
                                            Paul E. Knag - ct04194
                                            pknag@murthalaw.com
                                            Murtha Cullina LLP
                                            107 Elm Street, Suite 1101
                                            Four Stamford Plaza, 11th Floor
                                            Stamford, Connecticut 06902
                                            Telephone: 203.653.5400
                                            Facsimile: 203.653.5444


                                            Attorneys for Relief Defendants
                                            I-Cubed Domain, LLC, Sha!ini Ahmed,
                                            Shalini Ahmed 2014 Grantor Retained
                                            Annuity Trust, Diya Holdings, LLC, Diya
                                            Real Holdings, LLC, I.I. 1, I.I. 2 and I.I. 3




                                           4
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      Case 3:15-cv--00675-JBA Document 2307-1 Filed 08/15/22             Page 6 of 18




                               CERTIFICATE OF SERVICE




       I HEREBY CERTIFY that a copy of the foregoing will be sent by e-mail to all

parties by operation of the Court's electronic filing system or by mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court's CM/ECF system.


                                              Paul E. Knag - ct04194




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                     EXHIBIT 2
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/\0 91, (IZ,,v 12/1 I) /\pp,,;1railcc Bond




                                              UNITED STATES DISTRICT COURT
                                                                         for the
                                                              District of Connecticut
                        United States of America                              )
                                         V.                                   )
                                                                              )           Case No. 3:15-cmj-52 WIG
                                lftikar Ahmed
                                                                              )
                                                                              )

                                                              APPEARANCE BOND

                                                              Defendant's Agreement
I,                        lftikar Ahmed                         (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X )       to appear for court proceedings;
             ( X )       if convicted, to surrender to serve a sentence that the court may impose; or
             ( X )       to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                     Type of Bond
(      ) (I) This is a personal recognizance bond.

(      ) (2) This is an unsecured bond or$

( 0(3) This is a secured bond of$                      ~ otJ01 o(.)0_             06
                                                                                                   , secured by:

          (      ) (a) $                                  , in cash deposited with the court.

          ( V') (b)        the agrccrnent of the defendant and each surety to forfeit the following cash or other property
                     (describe the cash or other propeny, including claims   011 ii····· such   as a lien,   1110!'/gagc,   or loan   and a/ta ch proof of
                     ownership and value):




                     If this bond is secured by real property, documents to protect the secured interest may be filed of record.

          (      ) ( c) a bai I bond with a solvent surety (at/och a co11y ,?{the bail bu11d, or describe it 1111d identifi, the s11re(1):




                                                       l?orfeitu re or Release of the Bond

Forf,?iture o/'the Bond. This appearance bond may be forfeited if the defendant docs not comply with the above
agrccmenl. The court rnay immediately order the amount of the bond surrendered to 1hc United States, including the
security for the bond, if the defendant does not comply wiih the agreement. At the request of the United States, the court
may order a judgment of for!'eiture against the defendant and each surety for the <.;nl ire amount of the bond, including
interest and costs.
                Case 3:15-cv-00675-JBA Document 2337 Filed 09/15/22 Page 14 of 23




AO 98 (Rev. 12/11) Appearance Bond
                                                                                                                                  ··-····======

Release o/'!he Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (I) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                                                      Declarations

Ownership of the Property. I, the defendant - and each surety                                     declare under penalty or pe1jury that:
         ( 1)                         all owners of the property securing this appearance bond are included on the bond;
         (2)                          the property is not subject to claims, except as described above; and
         (J)                          I will not sell the property, allow forther claims to be made against it, or do anything to reduce its value
                                      while this appearance bond is in effect.
Acceptance. I, the defendant and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant                          and each surety        declare under penalty ofper:iury that this inl~,r111a1inn is trne. (See 28 U.S.C. § 1746.)
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Date:     AP g1 l- ulNJ>                               ?A) l~
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                        Sure1yipropertv owner                   printed name                                Surety/properly owner               signature and date



                        Swety/proper(v owner .... pri/1/ed name                                             Sure()'/J,rnpaty owner              signature and date




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Approved.
                                                                                                            Isl William I. Garfinkel, USMJ
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                        I                                                                                                Judge '.1· sig1wture
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                      EXHIBIT 3
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After recording, return to:

United States Attorney's Office
l Courthouse Way, Suite 9200
Boston, MA 02210


                                          MORTGAGE DEED

THIS MORTGAGE DEED (this "Mortgage") is made this3-:3t~lay of April, 2015, between
lftikar Ahmed and Shalini A. Ahmed (f/k/a Shalini Aggarwal) , both presently residing at 505
North Street, Greenwich, Connecticut 06830 (herein "Mortgagor(s)"), and the Clerk of the
United States District Court for the District of Massachusetts, United States Courthouse, 1
Courthouse Way, Boston, Massachusetts (herein "Mortgagee").

WITNESSETH, for consideration paid and to secure a personal bond of even date for Iftikar
Ahmed (herein "Defendant"), in Criminal No. I: l 5-mj-02062-MBB, before the United States
District Court for the District of Massachusetts (herein "Court"), in the amount of NINE
MILLION AND 00/100 ($9,000,000.00) Dollars executed by the Defendant and the
Mortgagor(s) in favor of the United States of America, and to secure due observance and
perfonnance of the obligation, terms, and conditions as set forth in an Order Setting Conditions
of Release dated April 2, 2015, and filed with the United States Distrkt Comi for the District of
Connecticut, and to further secure the perfonnance of all other covenants and agreements of or
by the Defendant and Mortgagor(s) herein for the benefit of the Mortgagee, which may now exist
or may hereafter exist or accrue while this Mortgage is still undischarged of record, and in
furtherance of and pursuant to an escrow agreement made this day between the Mortgagor(s), the
United States Attorney for the District of Massachusetts and the Mortgagee, the Mortgagor(s)
hereby grant with MORTGAGE COVENANTS the parcel of real property located in the Town
of Greenwich, County of Fairfield, and State of Connecticut, which property is more particularly
described on Exhibit A attached hereto.

TOGETHER with all the improvements now or hereafter erected on the property, and all
easements, rights, appurtenances, rents royalties, mineral, oil and gas rights and profits, water,
water rights, and water stock, and all fixtures now or hereafter attached to the prope1iy, all of
which, including replacements and additions thereto, shall be deemed to be and remain a part of
the property covered by this Mortgage; and all of the foregoing, together with said property are
hereinafter refened to as the "Property."

THE MORTGAGOR(S) covenant with the Mortgagee as follows:

1.          That the M011gagor(s) shall pay the indebtedness as hereinbefore provided.

2.      That the Mortgagor(s) will keep the Property insured against loss by fire or hazards
included within the tem1 "extended coverage" for the benefit of the Mortgagee; that the
Mortgagor(s) will assign and deliver the policies to the Mortgagee; and that the Mortgagor(s)
will reimburse the Mortgagee for any premiums paid or insurance made by the Mortgagee on the


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    Case 3:15-cv-00675-JBA Document 2337 Filed 09/15/22 Page 17 of 23




Mortgagor(s)'s default in so insuring the Property or in so assigning and delivering the policies.
However, the Mortgagee shall never be required to maintain insurance of any type or description
on the Property.

3.     That the Mortgagor(s) shall keep the Property in good repair and shall not commit waste
or permit impairment or deterioration of the Property, and no building on the Property shall be
removed or demolished without the consent of the Mortgagee.

4.      That the Mortgagor(s) will pay all taxes, assessments or water rates, and in default
thereof, the Mortgagee may, but is not required to, pay the same. In the event that the M011gagee
elects not to pay the same, the Mortgagee is not required to so notify the Mortgagor(s).

5.      That the proceeds of any award or claim for damages, direct or consequential, in
connection with any condemnation or other taking of the Property, or part thereof, or for
conveyance in lieu of condemnation, said proceeds not to exceed the dollar amount of the
personal bond secured by this Mortgage, shall be delivered to the Mortgagee, who shall hold
such proceeds in a non-interest bearing escrow account until either (A) the personal bond has
been discharged by the Court, whereupon, and only upon an order of the Court, the Mortgagee
shall deliver said proceeds to the Mortgagor(s), or (2) the Defendant fails to observe the Order
Setting Conditions of Release and is defaulted by a judicial officer of the Court, whereupon the
proceeds shall be disbursed for the benefit of the United States of America in accordance with,
and only upon, an order of the Court.

6.     That notice and demand or request may be made in writing and may be served in person
or by mail.

7.     That the Mortgagor(s) will wanant and defend the title to the Property against all claims
and demands.

8.     That the Mortgagor(s) will create no further encumbrances of any kind against the
Property.

9.     That the Mortgagor(s), in case a sale shall be made under the power of sale, to the extent
permitted by law, will, upon request, execute, acknowledge and deliver to the purchaser or
purchasers a deed or deeds of release confirming such sale, and that the Mortgagee is appointed
and constituted the attorney irrevocable of the Mortgagor(s) to execute and deliver to said
purchaser a full transfer of all policies of insurance on the Property at the time of such sale.

IO.    That the holder of this Mortgage, in any action to foreclose it, shall be entitled to the
appointment of a receiver.

11.     Notwithstanding any other agreement between the Mortgagor(s) and Mortgagee, or any
provision of law, the Mortgagee shall not be required to discharge this Mortgage except upon
order of the Court. It shall be the obligation of the Mortgagor(s) to furnish the Mortgagee with a
certified copy of said order.

                                [SIGNATURE PAGE FOLLOWS]
                                                ·2·
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     Case 3:15-cv-00675-JBA Document 2337 Filed 09/15/22 Page 18 of 23




             fN WITNESS WHEREOF, this Mortgage has been duly executed by the Mo1igagor(s).


Signe~d,
    Sea~d ~ ~ l i v einrthe
                        ed  Presence of or A t t.by:
                                                 \st~~d                            cv',\                    -

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Sign:             -~--"-c---+---,"'------....;             ~
                                                    IFTIKARAH
                                                                                                            _ _ __




Print: .K'~ C.. . .iJ 11?a ~




                                                    SHALTNI A. AHMED




State of Connecticut :
                           : ss,
County of Fairfield :

        Before me personally appeared IFTIKAR AHMED, Signer and
Sealer of the foregoing Instrument and acknowledged the same to be his free act and deed.


                                   ~~~~~~
                                    Commissioner of the Superior Court
                                    Notary Public             --rf'l'cYl--,-_-,---A-n-dr_e_a".:S-:-tra-d-:-a-- 7
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                                                                  ~ l$~~ i .•                Notnry Public
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State of Connecticut :                                             1 ~:.;;:,; ,,
                                                                    11              My tom,rn,;;,on Exp,1e, 4/3012020
                           : ss,
County of Fairfield :

       Before me personally appeared SHALTNI A. AHMED, Signer and
Sealer of the foregoing Instrument and acknowledged the same to be her free act and deed.


                                    ~~~~~~
                                    Commissioner oftbe Superior Court
                                    Notary Public
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                                                         /,,.~--~ li;:0.i·s          State of Corn1e~t,cut
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                     EXHIBIT 4
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NOTICE OF AUTOMATIC COURT ORDERS                                    For information on ADA
                                                                                                               STATE OF CONNECTICUT
JD-FM-158 Rev. 10-21                                                accommod:itions,
C.G.S. §§ 461>-67 & 52-212(b);                                      contact a court clerk or go to:                  SUPERIOR COURT
                                    This form is available                                                                         \Wiw.jud ct.gov
PA 21-78 §§ 2, 6, and 7                                             www.jud.ct.gov/ADA.
                                    in other language(s).

Notice to Plaintiff Altac/1 to Divorce (Disso/ut1on of A./anwge) Complaint/Cross     Notice to Defendant In cases of cltsso!ution        01   leqaf sepmatton
Comp/alf)/ (JD-FM-159), D1ssolut1on of Civil Union Comp/amt/Cross Comp/amt           if you or your attorney c/o not ftle   D   wntten Appearance form
{JD-FM- 159A). CustoclyNis1tation App/1cat1on (JD-FM-161 ). ancl any                 (JD-CL-12! /.Jy _______ (30 clays after tile retum elate),
Annulment Complaint (JD-FM-240) or Legal Separation Complaint (JD-Ff,il-237)         tile plaintiff can ask the Cowt to enter1uc/gment ogainst you for
                                                                                     t/1e relief requested in tile complaint wi//1out fwt/1er notice to vou.

T11e following automatic orclers shall apply to both pmties, with service of the automatic orclers to be made witl1 service of process of a
summons and complaint for dissolution of marriage or civil union, legal separation, or annulment, along with a blank Appearance form
(,JD-CL-I2) or an application for custody or visitation. An automatic order shall not apply if there is a prior, contradictory order of a judicial
autt1ority. The automatic orders sl1all be effective with regard to the plaintiff or t11e applicant upon the signing of t11e complaint, or t11e
application and with regard to the defendant or the respondent upon service ancl shall remain in place during the pendency of the action,
unless terminated, modified, or amended by further order of a judicial aut110rity upon motion of either of the parties:
In all cases involving a child or children, whether or not the parties are married or in a civil union:
    ( 1) Neither party shall pemianently remove the minor cl1ild or cl1ildren from the state of Connecticut, without written consent of the other
           or order of a judicial aut11ority.
    (2) A paiiy vacating the family residence shall notify the other party or tt1e other party's attorney, in writin~J. witt1in frnty-eight l1ours of
           such move, of an address where the relocated party can receive communication. Tl1is provision slmll not apply if and to the extent
           there is a prior, contradictory order of a judicial authority.
    (3) If tl1e parents of minor children live apart during t11is proceeding, they shall assist their children in having contact wit11 botl1 parties,
           wl1icl1 is consistent with the hat,its of the family, personally, by telephone, and in writing. This provision shall not apply if ancl to the
           extent there Is a prior, contradictrny order of a judicial aut11ority_
    (4) Neither party shall cause the children of the marriage or civil union to be removed from any medical, hospital and dental insurance
           coverage, and each party shall maintain the existing medical, hospital and dental insurance coverage in full force and effect
    (5) Tl1e parties shall participate in the parenting education program within sixty days of the retum clay or the complaint or within sixty
          days from the filing of the application.
    (6) Tl1ese orders clo not change or replace any existing court orders, including criminal protective and civil restraining orders.
In all cases involving a marriage or civil union, whether or not there are children:
     ('I) Neitl1er party shall sell, transfer, exchange, assign, remove, or in any way dispose of, witl1out the consent of the other party in
           writing, or an order of a judicial authority, any property, except in the usual course of business or for customrny and usual
           household expenses or for reasonable attorney's fees in connection with this action.
           (A) Nothing in ('I) shall be construed to preclude a prnty from purchasing or selling securities, in the usual course of the pmiies'
                investment decisions, whether held in an incliviclual or jointly held investment account, provided that the purchase or sale is: (i)
                intended to preserve the estate of the parties, (ii) transacted either on an open and public market or at an arm's length on a
                private market, and (iii) completed in such manner that the purchased securities or sales proceeds resulting from a sale remain,
                sulJject to t11e provisions and exceptions recited in (1 ), in tile account in wl1ich the securities or casl1 were maintained
                imrnecliately prior to the transaction. Nothing contained in this subsection shall be construed to ,ipply to a patty's purcl1ase or
                sale on a private market of an interest in an entity that conducts a business in wl1icl1 the party is or intends to i)ecome an active
                prnticipant.
           (B) Notvvitl1standing the requirement of { I ){A) that the transaction be macle in t11e usual course of the parties' investment decisions,
                if historically t11e prnties' usual course of investment decisions 111volves their discussion of proposed transactions wit11 each ot11er
                IJefore they are made, but a sale proposed by one prnty is a matter of such urgency as to timing that t11e party proposing the
                sale has a good faith belief that the delay occasioned by such discussion woulcl result in loss to the estate of the pmties, then
                the pmty proposing the sale may proceed with the transaction without such prior discussion, but shall notify the other patty of
                the transaction immediately upon its execution; provided, that a sale peImittecl by this subparagraph (B) shall be subject to all
                other conditions and provisions of (1 )(A), so long as the transaction is intended to preserve the estate of the paIiies
    (2) Neitller party shall conceal any propeIty.
    (3) Neither party shall encumber (except for the filin9 of a lis pendens) without the consent of the other party, in writing, or an orcler of a
          judicial authority, any property except in the usual course of business or for customary ancl usual household expenses or for
          reasonable attorney's fees in connection with this action.                                        .
    (4) Neither party shall cause any asset, or portion thereof, co-owned or l1eld in joint name, to !)ecome held in his or her name solely
          without the consent of the other party, in writing, or an order of the judicial authority_
    (5) Neither party sl1all incur unreasonable debts hereafter, including, but not limitecl to, fuIiher borrowing against any creclit line secured
          by the family residence, fu1iher encumbrnncing any assets, or unreasonably using credit carets or casl1 advances against credit
          cards.
    (6) Neither prnty shall cause tt1e other pariy to be removed from any medical, hospital ancl clental insurance coverage, ancl eacl1 party
          shall maintain the existing medical, hospital ancl dental insurance coverage in full force and effect.
    (7) Neither party shall cl1ange the beneficiaries of any existing life insurance policies, and each pariy shall maintain the existing life
          insurance, automobile insurance, l1omeowners or renters insurance policies in full force and effect.
    (8) If the parties are living together on the elate of service of tl1ese orclers, neither pmty may deny the other prnty use of tl1e current
          prirnrny residence of the parties, whether it be owned or rented property, without order of a judicial authority. This provision shall not
          apply if there is a prior, contradictory order of a judicial authority.
In all cases:
    (I ) The parties shall eacl1 complete and exchange sworn financial statements substantially in accordance with a form prescril)ecl l)y u-,e
         chief court administrator within thirty clays of the return clay_ The parties may tl1ereafter enter and submit to the couIi a stipulated
         interim orcler allocatin9 income and expenses, including, if applicable, proposed orders in accordance with the uniform child suppoI1
         guidelines.
    (2) The case management elate for this case is .                         . The pmties shall comply with Section 25-50 to determine if their
         actual presence at the couIt is required on that elate.
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By Order of The Court
Failure to obey these orders may be punishable by contempt of court. If you object to or seek modification of these
orders during the pendency of the action, you have the right to a hearing before a judge within a reasonable time.
Summary of Automatic Court Orders
Tl1e court orders on page I of this form apply to both parties in this case, unless there is alreacly a court orcler which is clifferent than one of
these orders. Tl1e automatic court orders apply to the plaintiff or tl1e applicant when the attached Complaint or Application is signed. They
apply to the clefendrn1t or responclent wl1en a copy of the Complaint or Application, and the Notice of Automatic Court Orclers are served
(cleliverec/ to the clefenc/rmtlresponclent /Jy Dn authorizecl person). The automatic court orders are summarized below, but you must follow
the actual orders on page ·f of this form. If you clo not unclerstand the actual automatic cou1t orders, you may want to talk to an attorney.

In all cases that involve a child, whether or not the parties are married or in a civil union:
  Neit11er party may pem1anently take the child(ren) from Connecticut wit11out written agreement or a coL111 order;
• If you move out of the family l10111e, you must tell the ot11er party in writin{J within 48 hours about your new address or a place where you
  can receive mail;
  If both parents of the chilcl(ren) live apart, both parties must l1elp the chilcl(ren) continue usual contact with both parents in person, by
  telephone and in writing;
  Neither paity may take the child(ren) off any existing rneclical. hospital, cloctor, or dental insurance policy or let any such insurance policy
  encl:
  Botl1 pai1ies must prn1icipate in a parentin{J education program within 60 clays of tl1e return elate of t11e complaint or within 60 clays from
  the filing of the application for custody or visitation;
  None of these orders change or replace any court order that already exists.

In all cases that involve a marriage or civil union, whether or not there are children, neither party may:
  Sell, exchange, take away, give away or clispose of any property wit11out written agreement wit11 t11e ot11er party or a cou1t orcler except in
  their usual business or for usual expenses for tl1e home or for reasonal)le attorney's fees for this case;
  Subparagraph (A) on page I allows one party to make a transaction (purchase or sale) cluring the divorce in 8 manner consistent with t11e
  pa11ies' prior practice wit11out the permission of the other party or a coL11i order. A transaction by one party without the pe1rnission of the
  other is "in t11e usual course of the parties investment decisions" only if the party who rnakes the transaction is usually the sole decision
  mnker for similar kinds of transactions. If the transaction is in the usual course of the parties' investment decisions, the party must also
  meet the other requirements of subparagrapl1 (A) before the transaction is allowed. A business may not be sold under subparagraph (A).
  Subp<1ragraph (B) on page ·1 allows one party to make a transaction in an emergency, as clescrit)ecl, if it meets all of the requirements of
  subparagraph (A), even 1f it is not the kind of transaction t11at the prnty would usually make wit1•1out the permission of tl1e ot11er paity.
  Hicle any property;
  Mo1tgage any prope1ty except in their usual business or for usual expenses for the house or for reasonable attorney's fees for this case
  without written agreement or a court order;
  Have any asset or an asset that is owneli by both parties become owned only by him or lier without written agreement or a coLut order;
  Go into unreasonable debt by borrowing money or using credit cards or cash aclvances unreasonably;
  Take the other off any existing meclical, hospital, doctor or dental insurance policy or let any such insurance coverage encl;
• Change t11e terms or named beneficiaries of any existing insurance policy or let any existing insurance coverage encl, including life.
  automobile, homeowner's or renter's insurance;
• Deny use of the family home to t11e ot11er person without a court order, if you are living together on the date the court papers are delivered.

In all cases:
  Both parties must complete ancl give to eacl1 ot11er sworn financial affidavits within 30 days of the return elate;
• Bot11 parties rnust attend a case managernent conference on the elate given on page 'I of this fomi, unless you both agree on all issues
  and file a Case Management Agreement form witll the court clerk on or before that date.

If you do not obey these orders while your case is pending, you may be punished by being held in contempt of court. If you
object to these orders or want them changed, you have a right to a hearing before a judge within a reasonable time, by filing a
motion to modify these orders with the court clerk.

NOTICE: If a restraining orcler, protective order, or standing criminal protective order !las been issued on your behalf or on be1·1alf of your
cl·1ilcl, you may elect to give testirnony or appear in a family court proceeding remotely, pursuant to 461)-·15c. Notify tl1e cou1t in ,wiling at
least two days in advance of a proceeding if you choose to give testimony or appear remotely, ancl your physical presence in the
coL11tl1ouse will not be required in order to participate in the cou1t proceeding. You may use the Remote Testimony Request (fo1111
JD-Frvl-295) to make t11is written request. You rnay use t11e same form witl1 two clays' advance notice to request t11at your testimony in any
family proceeding be taken outside the presence of the respondent/subject to a restraining order, protective order, or standing criminal
protective order issued on your behalf ancl/or a child's behalf pursuant to 46b-·I 5c.




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NOTICE OF AUTOMATIC                                   This form is available
COURT ORDERS -
                                                      in other /anguage(s).
NONADVERSARIAL DIVORCE
JD-FM-260 New 1-17
PB § 2E,-5B
                                                                                                                                WWW.JU(/. C:f.QOV
                         I   Attac/1 to Joint Petition - Nonaclversarial Divorce (D1ssolution of Ma1Tiage) (JD·FM· 242)   I
The following automatic orders shall apply to both petitioners upon filing of tl1e joint petition. An automatic order shall not apply if
t11ere is a prior, contraclictory order of a judicial authority. The automatic orders shall remain in place until further order of a judicial
aut11ority:
    (I) Neither petitioner shall sell, transfer, exchange, assign, remove, or in any way dispose of, without the consent of the other
         petitioner in writing, or 811 order of 8 judici81 authority, any property, except in the usual course of business or for custonwry
         ancl usual housel1olcl expenses or for re8son8ble 8ttorney's fees in connection with this action.
    (2) Neither petitioner shall conceal any property.
    (3) Neitl1er petitioner shall encumber without the consent of the other petitioner, in writing, or 8ll orcler of a judicial aut11ority, any
         property except in the usual course of business or for customary and usual l1ouseholcl expenses or for reason8ble attorney's
         fees in connection with this action.
    (4) Neither petitioner sl1all cause any 8sset, or portion thereof, co-owned or held in joint name, to become held in l1is or her name
         solely wi!l1out the consent of the other petitioner, in writing, or an orcler of the juc!icial authority.
    (5) Neither petitioner sh811 incur unreasonable debts hereafter. inclucling, but not limitefJ to, further encuml)rancing any assets, or
         unreason8bly using credit cards or C8sh advances against creel it cards.
    (6) Neither petitioner shall cause the other petitioner to be removecl from any medical, hospital and dental insurance coverage,
         and each petitioner shall maintain the existing medical, hospital and dental insurance coverage in full force and effect.
    (7) Neither petitioner shall change the beneficiaries of any existing life insurance policies, and each petitioner shall maintain the
         existing life insurance, automobile insurance, homeowners or renters insurance policies in full force ancl effect.
    (8) If the petitioners are living together on the elate of these orders, neither petitioner may deny the other petitioner use of tl1e
         current primary resiclence of the petitioners without order of a judicial aut11ority. This pmvision shall not apply if there is a
         prior, contradictory order of a judicial 8Utllority.
    (9) The petitioners shall each complete ancl exchange sworn financial statements substantially in accorclance with a form
         prescribed by the chief court administrator and file the financial statements with the joint petition. The petitioner may
         thereafter enter and submit to the court a stipulated interim order allocating income and expenses.

By Order Of The Court
Failure to obey these orders may be punishable by contempt of court. If you object to or seek modification of these orders
during the pendency of the action, you have the right to a hearing before a judge within a reasonable time.



Summary Of Automatic Court Orders
The court orders on this form apply to l)oth petitioners in this case, upon filing of the joint petition, unless there is already a court
order which is clifferent tl1an one of t11ese orders. Tl1e automatic court orders are summarized l)elow, but you must follow Urn actual
orders on this form. If you do not understand t11e actual automatic court orders, you may want to talk to an attorney.
Neither petitioner may:
  Sell, excl1ange, take away, give away or dispose of any              •   Go into unreasornible clebt by borrowing money or using credit
   property without written agreement with the other                       carets or cash advances unreason8bly;
   petitioner or a court order except in their usu81 business              Take the other off any existing medical, hospital, doctor or
   or for usual expenses for the home or for reason8ble                    dental insurance policy or let any sucl1 insurance coverage end;
   attorney's fees for this c8se;
                                                                           Change the terms or named beneficiaries of any existin9
    Hide any property;                                                     insurance policy or let any existing insurance coverage encl,
•   l\·lortgage any property except in their usual bus_iness or            including life, automobile, homeowner's or renter's insurance;
    for usual expenses for the house or for re8sonable                     Deny use of tl1e family l1orne to tl1e other person wttl,out a court
    ottorney's fees for this case without written a(1reement or            order, if you are livin9 together on the elate the joint petition is
    o court orcler;                                                        filecl
    Have any asset or 811 asset t11at is owned by both                     Both petitioners must complete and give to eacl1 other sworn
    petitioners become owned only by l1im or her without                   financial affidavits and file them with the joint petition
    written agreement or a court order;
If you do not obey these orders while your case is pending, you may be punished by being held in contempt of court. If
you object to these orders or want them changed, you have a right to a hearing before a judge within a reasonable time,
by filing a motion to modify these orders with the court clerk.

                                                                   ADA Notice
                             Tl1e Judicial Branch of the State of Connecticut complies with the Americans with
                             Disabilities Act (ADA). If you neecl a reason8l)le accommodation in accorclance wit11
                             the ADA cont8ct a court clerk or 811 ADA contact person listed 8t wwwjucl.ct gov/ADA.


                                      Print Form                                               Reset Form
